Case 18-68479-pmb        Doc 52    Filed 05/15/19 Entered 05/15/19 13:13:06        Desc Main
                                   Document Page 1 of 7




  IT IS ORDERED as set forth below:



  Date: May 15, 2019
                                                       _____________________________________
                                                                     Paul Baisier
                                                             U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                          )     CHAPTER 11
                                )
JAMES EDWARD CARTER, IV         )     CASE NO. 18-68479-pmb
                                )
     Debtor.                    )
====================================================================



      ORDER AND NOTICE APPROVING DISCLOSURE STATEMENT FOR PLAN
       OF REORGANIZATION, SCHEDULING HEARING ON CONFIRMATION,
           AND ESTABLISHING DEADLINE FOR FILING BALLOTS AND
                      OBJECTIONS TO CONFIRMATION



         On March 4, 2019 Debtor James Edward Carter IV filed his Plan of Reorganization [Doc.

35] and Disclosure Statement [Doc. 36]. On May 7, 2019 Debtor filed his First Amended Plan

of Reorganization [Doc. 48] (as amended, the “Plan”) and on April 29, 2019 filed his First

Amended Disclosure Statement [Doc.47] (as amended, the “Disclosure Statement”).
Case 18-68479-pmb        Doc 52     Filed 05/15/19 Entered 05/15/19 13:13:06          Desc Main
                                    Document Page 2 of 7


Pursuant to the Amended Notice of Hearing on Disclosure Statement [Doc. 42] filed on March 28,

2019 a hearing on the approval of the Disclosure Statement was scheduled and held April 29,

2019, upon notice to all creditors and parties in interest. No parties appeared at the hearing in

opposition to the Disclosure Statement.

       Based upon the pleadings filed and presentations of counsel, the Court finds that: (a) this

Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (b) notice and the opportunity for objection and

hearing were sufficient and appropriate and no other notice need be given; (c) the Disclosure

Statement to be presented to all creditors of the Debtor contains adequate information pursuant to

11 U.S.C. § 1125; and (d) approval of the Disclosure Statement is in the best interests of the

Debtor, the Debtor’s estate, and the creditors of the Debtor.

       THEREFORE, the Court HEREBY ORDERS, and NOTICE IS HEREBY GIVEN, as

follows:
       1) Pursuant to 11 U.S.C. § 1125, the Disclosure Statement is APPROVED;

       2) The Debtor is authorized to make non-substantive conforming changes to the Plan and

       Disclosure Statement prior to solicitation;

       3) July 5, 2019 at 4:45 p.m. Eastern Time is fixed as the deadline for filing ballots

       (“Voting Deadline”) indicating written acceptances or rejections of the Plan. All ballots

       must be filed with the Clerk of the United States Bankruptcy Court, Northern District of

       Georgia, Atlanta Division, Room 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia

       30303, and a copy simultaneously served on counsel for the Debtor, Howard P. Slomka,

       Esq., Slipakoff and Slomka P.C, 2859 Paces Ferry Road, Suite 1700 Atlanta, Georgia

       30339, on or before the Voting Deadline. Any ballots not filed and served in accordance
Case 18-68479-pmb       Doc 52     Filed 05/15/19 Entered 05/15/19 13:13:06           Desc Main
                                   Document Page 3 of 7


      with this provision may be disregarded and not counted for purposes of approving or

      rejecting the Plan;

      4) June 15, 2019 at 4:45 p.m. Eastern Time (the “Objection Deadline”) is fixed as the

      deadline for filing objections to confirmation of the Plan pursuant to Federal Rule of

      Bankruptcy Procedure 3020(b)(1). All written objections must state the legal and factual

      basis for the objection and include proposed curative language to resolve the objection and

      be filed with the Clerk of the United States Bankruptcy Court, Northern District of Georgia,

      Atlanta Division, Room 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 and

      served on counsel for the Debtor, Howard P. Slomka, Esq., Slipakoff and Slomka P.C,

      2859 Paces Ferry Road, Suite 1700 Atlanta, Georgia 30339, on or before the Objection

      Deadline. Any objection not timely filed and served may be deemed waived.

      5) July 15, 2019 at 2:00 p.m. Eastern Time is fixed as the time for the hearing on

      confirmation of the Plan (the “Confirmation Hearing”). The Confirmation Hearing will be

      held in Courtroom 1202, U.S. Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia

      30303.

      6) The Confirmation Hearing may be adjourned from time to time by announcement in

      open court without further notice to creditors or parties in interest.

      7) Notice of the Confirmation Hearing shall be deemed adequate and sufficient if a copy

      of this Order is served upon (i) the Office of the United States Trustee; (ii) all known

      creditors of the Debtor as reflected on the creditors’ matrix maintained by the Clerk of the

      Bankruptcy Court in this case; and (iii) all persons or entities that have filed notices of

      appearances in this case prior to the date of this Order.
Case 18-68479-pmb      Doc 52      Filed 05/15/19 Entered 05/15/19 13:13:06            Desc Main
                                   Document Page 4 of 7


      8) No later than May 18, 2019, counsel for the Debtor shall mail to the creditors entitled to

      vote a copy of the Plan, Disclosure Statement, a Ballot, and any other materials approved

      for dissemination by the Court and file a certificate of service with this court within three

      business days thereafter.

                                       [END OF DOCUMENT]

      Prepared and presented by:

      /s/ Howard P. Slomka
      Howard P. Slomka, Esq.
      GA Bar 652875
      Attorney for Debtor
      Slipakoff and Slomka P.C
      2859 Paces Ferry Road, Suite 1700
      Atlanta, GA 30339
      hs@atl.law
      (404) 800-4017
Case 18-68479-pmb     Doc 52   Filed 05/15/19 Entered 05/15/19 13:13:06   Desc Main
                               Document Page 5 of 7


                                          Distribution List


      Howard P. Slomka, Esq.
      GA Bar 652875
      Attorney for Debtor in Posession
      Slipakoff and Slomka P.C
      2859 Paces Ferry Road, Suite 1700
      Atlanta, GA 30339
      hs@atl.law
      (404) 800-4017
Label Matrix forCase
                  local 18-68479-pmb
                        noticing       Doc 52    Filed 05/15/19
                                           AT&T Mobility II LLC    Entered 05/15/19 13:13:06
                                                                                    Adjustable RateDesc   Main
                                                                                                    Mortgage Trust 2005-5 et al
113E-1                                           Document
                                           %AT&T SERVICES INC.  Page 6 of 7         U.S. Bank National Assn as Trustee
Case 18-68479-pmb                           KAREN A. CAVAGNARO PARALEGAL                  c/o Specialized Loan Servicing LLC
Northern District of Georgia                ONE AT&T WAY, SUITE 3A104                     8742 Lucent Blvd, Suite 300
Atlanta                                     BEDMINSTER, NJ 07921-2693                     Highlands Ranch, Colorado 80129-2386
Tue May 14 12:55:27 EDT 2019
American Express National Bank              Amex                                          Bank of America, N.A.
c/o Becket and Lee LLP                      Po Box 297871                                 P O Box 982284
PO Box 3001                                 Fort Lauderdale, FL 33329-7871                El Paso, TX 79998-2284
Malvern PA 19355-0701


(p)BANK OF AMERICA                          Jody Charles Campbell                         Capital One
PO BOX 982238                               Blum & Campbell, LLC                          PO Box 71083
EL PASO TX 79998-2238                       Building 100                                  Charlotte, NC 28272-1083
                                            3000 Langford Road
                                            Peachtree Corners, GA 30071-4770

James Edward Carter IV                      Chase Mtg                                     Country Club of the South HOA
2000 Norland Circle Court                   Po Box 24696                                  4100 Old Alabama Road
Alpharetta, GA 30022-7129                   Columbus, OH 43224-0696                       Alpharetta, GA 30022-8615



D Williams Auto Sales                       James G Davis                                 First Data
6070 Buford Hwy                             6410 Old Shadburn Ferry Road                  265 Broad Hollow R
Norcross, GA 30071-2407                     Buford, GA 30518-1136                         Melville, NY 11747-4833



Franklin Collection Service                 (p)GEORGIA DEPARTMENT OF REVENUE              Internal Revenue Service
PO Box 2300                                 COMPLIANCE DIVISION                           P. O. Box 7346
Tupelo, MS 38803-2300                       ARCS BANKRUPTCY                               Philadelphia, PA 19101-7346
                                            1800 CENTURY BLVD NE SUITE 9100
                                            ATLANTA GA 30345-3202

James Davis DDS                             James G. Davis                                Jody Charles Campbell Esq
6410 Old Shadburn Ferry Road                Jody Charles Campbell                         Blum & Campbell
Buford, GA 30518-1136                       3000 Langford Road, Bldg. 100                 3000 Langford Rd Bldg 100
                                            Peachtree Corners GA 30071-4770               Peachtree Corners, GA 30071-4770


King, Yanklin & Wilkins, LLP                (p)PORTFOLIO RECOVERY ASSOCIATES LLC          Secretary of the Treasury
192 Anderson Street Suite 125               PO BOX 41067                                  15th & Pennsylvania Avenue, NW
Marietta, GA 30060-1930                     NORFOLK VA 23541-1067                         Washington, DC 20200



Shapiro Pendergast & Hasty                  Chad Ralston Simon                            Howard P. Slomka
211 Perimeter Center Pkwy, NE               The Chad R. Simon Law Firm, LLC               Slipakoff & Slomka, PC
Suite 300                                   P.O. Box 80727                                Overlook III - Suite 1700
Atlanta, GA 30346-1305                      Atlanta, GA 30366-0727                        2859 Paces Ferry Rd, SE
                                                                                          Atlanta, GA 30339-6213

R. Jeneane Treace                           U. S. Securities and Exchange Commission      United States Attorney
Office of the United States Trustee         Office of Reorganization                      Northern District of Georgia
362 Richard Russell Bldg.                   Suite 900                                     75 Ted Turner Drive SW, Suite 600
75 Ted Turner Drive, SW                     950 East Paces Ferry Road, NE                 Atlanta GA 30303-3309
Atlanta, GA 30303-3315                      Atlanta, GA 30326-1382
               Case 18-68479-pmb
United States Trustee                         Doc 52
                                                  Wells Filed   05/15/19
                                                        Fargo Home Mortgage Entered 05/15/19 13:13:06       Desc Main
                                                                                             Matthew M. Wilkins
362 Richard Russell Federal Building                    Document
                                                  PO Box 660455           Page 7 of 7        King, Yaklin & Wilkins, LLP
75 Ted Turner Drive, SW                               Dallas, TX 75266-0455                                Suite 125
Atlanta, GA 30303-3315                                                                                     192 Anderson Street
                                                                                                           Marietta, GA 30060-1930



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bk Of Amer                                            GEORGIA DEPARTMENT OF REVENUE                        (d)Georgia Department of Revenue
Po Box 982238                                         COMPLIANCE DIVISION                                  Bankruptcy Division
El Paso, TX 79998                                     BANKRUPTCY SECTION                                   Post Office Box 161108
                                                      1800 CENTURY BLVD. NE, SUITE 9100                    Atlanta, GA 30321
                                                      ATLANTA, GEORGIA 30345-3205

Portfolio Recovery Associates, LLC
POB 41067
Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Internal Revenue Service                           (u)Specialized Loan Servicing, LLC                   End of Label Matrix
PO Box 7346                                                                                                Mailable recipients    32
Philadelphia, PA 19101-7346                                                                                Bypassed recipients     2
                                                                                                           Total                  34
